                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA

 In Re:                                            )
                                                   )
          JONATHAN BAILEY and
          HEATHER BAILEY,                          )           CASE NO. 18-82494-CRJ13
                                                   )
                                                   )
          Debtor.                                  )

                            APPLICATION FOR APPROVAL OF
                         EMPLOYMENT OF PROFESSIONAL PERSON

                 Pursuant to 11 U.S.C. § 327(e) and Bankruptcy Rule 2014(a), the above-

 captioned Debtor Jonathan Bailey (hereinafter “Applicant”) requests this Honorable Court to

 approve the employment of:

          William H. Hassinger
          Wettermark & Keith, LLC

 whose address is:

          100 Grandview Place
          Suite 530
          Birmingham, AL 35243

 as Special Counsel for the Debtor to represent or assist Applicant in carrying out his or her duties

 under Title 11 of the United States Code. In support of this request, Applicant represents as

 follows:

 1.       The person whose employment is requested (hereinafter “said person”):

          (a)    is professionally qualified and licensed, if required, for such employment;

          (b)    does not hold or represent an interest adverse to the estate;

          (c)    is a disinterested person as that term is defined in § 101(14) of the Bankruptcy

 Code; and


                                                   1



Case 18-82494-CRJ13         Doc 58    Filed 08/25/21 Entered 08/25/21 15:01:40             Desc Main
                                     Document     Page 1 of 7
       (d)    has not served as an examiner in this case.



 2.    Said person is not employed by and does not represent a creditor in this case, unless
       indicated under (a) below:

              (a)     Said person is employed by or represents the following creditor(s), but
              Applicant is not aware of any objection by another creditor to said person’s
              employment or of any actual conflict of interest if the employment here requested
              is approved (if NONE, so state):

              None

 3.    The specific facts showing the necessity for the employment here requested are as
       follows:

       On or about July 11, 2018, debtor suffered and on-the-job injury. This employment is
       limited to professional services surrounding that incident.


 4.    The professional services to be rendered are as follows:

       Personal injury attorney services including litigation if necessary.

 5.    The reasons for the selection of said person are:

       Competency and experience.

 6.    All of said person’s connections with the debtor, creditors, other parties in interest, and
       with their respective attorneys and accountants, the Bankruptcy Administrator, or any
       person employed in the office of the Bankruptcy Administrator, are as follows (If NONE,
       so state):

       Connection only as debtor’s attorney.

 7.    Except as stated below, the representations made in this Application with respect to said
       person apply to each of that person’s partners and associates and members of the firm,
       professional corporation or other type of entity with whom or with which said person is
       professionally associated:

       None

 8.    With the condition that the Court may allow different compensation after the conclusion
       of said person’s employment if the terms and conditions here proposed prove to have

                                                 2



Case 18-82494-CRJ13       Doc 58    Filed 08/25/21 Entered 08/25/21 15:01:40            Desc Main
                                   Document     Page 2 of 7
Case 18-82494-CRJ13   Doc 58    Filed 08/25/21 Entered 08/25/21 15:01:40   Desc Main
                               Document     Page 3 of 7
               VERFIFIED STATEMENT OF PERSON TO BE EMPLOYED

        I have read the above and foregoing Application. As required by Bankruptcy Rule
 2014(a) and in accordance with Bankruptcy Rule 9011(b) and 28 U.S.C. § 1746, I declare under
 penalty of perjury that the statements there made with reference to me and my professional
 associates are true and correct.

        This the 25th day of August 2021.




                                                     William H. Hassinger


               [Attach a copy of the executed contract between the Debtor-Applicant
                       and the Professional Person Seeking Employment]

                                  CERTIFICATE OF SERVICE

        I hereby certify that an accurate copy of the foregoing Application has been served on the
 following by Email or U.S. Mail on this the 25th day of August, 2021:

 Jonathan Bailey
 11197 Wall Trian Highway
 Toney, AL 35773

 Ronald C. Sykstus
 Bond, Botes Sykstus, Tanner & Ezell, PC
 225 Pratt Avenue NE
 Huntsville, AL 35801

 Richard M. Blythe
 Bankruptcy Administrator
 Seybourn H. Lynne Federal Building
 400 Well Street NE, Room 236
 Decatur, AL 35602

                                                     /s/ William H. Hassinger

                                                 4



Case 18-82494-CRJ13        Doc 58    Filed 08/25/21 Entered 08/25/21 15:01:40           Desc Main
                                    Document     Page 4 of 7
Case 18-82494-CRJ13   Doc 58    Filed 08/25/21 Entered 08/25/21 15:01:40   Desc Main
                               Document     Page 5 of 7
Case 18-82494-CRJ13   Doc 58    Filed 08/25/21 Entered 08/25/21 15:01:40   Desc Main
                               Document     Page 6 of 7
Case 18-82494-CRJ13   Doc 58    Filed 08/25/21 Entered 08/25/21 15:01:40   Desc Main
                               Document     Page 7 of 7
